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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



      UNITED STATES OF AMERICA                       Hon. Stanley R. Chesler


                                                     Criminal No. 07-143 (SRC)
      V.


      VINCENT YOUNG, et al.
                                                     ORDER REQUIRING
                                                     ACCOMODATION FOR
                                                     ATTORNEY TELEPHONE
                                                     CONFERENCES




              This matter having been opened to the Court by Gregory E. Tomczak, appointed

     counsel for Vincent Young, with consent of the United States (Melissa L Jampol, Asst.

     U.S. Attorney appearing), and the Court finding good cause for the issuance of this

     Order, and it is,

                      ORDERED that the FDC Philadelphia, Federal Detention Center, located

     in Philadelphia, Pennsylvania be required to provide inmate Vincent Young, Register No.

     99820-555 and SBI No. 000883348B, with telephonic access to his attorney, Gregory E.

     Tomczak, no later than 11 a.m. Friday, October 14, 2011 and at such other times until the

     defendant is sentenced by this Court, as required by Mr. Tomczak, with two-hour notice

     to prison officials.

                     SO ORDERED




                                              HON. STANLEY R. CHESLER, U.S.D.J.


    Dated: //
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